






						NOS. 12-07-00335-CR


          12-07-00336-CR


          12-07-00337-CR



IN THE COURT OF APPEALS
	


TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


MARK HARRIS,§
		APPEALS FROM THE SEVENTH

APPELLANT


V.§
		JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
		SMITH COUNTY, TEXAS

                                                                                                                                                            

MEMORANDUM OPINION


PER CURIAM


	Mark Harris appeals his two convictions for sexual assault of a child and one conviction for
improper photography.  Appellant entered pleas of guilty without benefit of a plea bargain.  The trial
court assessed punishment at eighteen years of imprisonment and a $10,000.00 fine in each of the
sexual assault cases and two years of confinement in a state jail facility in the improper photography
case.  Appellant's counsel filed a motion to withdraw and a brief in support of that motion in
compliance with Anders v. California, 386 U.S. 738, 87 S. Ct. 1396, 18 L. Ed. 2d 493 (1967) and
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Thereafter, Appellant filed a pro se brief. 
We dismiss Appellant's appeals.


Analysis Pursuant to Anders v. California

	Appellant's counsel filed a brief in compliance with Anders and Gainous in each of the three
cases, stating that he has diligently reviewed the appellate records and is of the opinion that the records
reflect no reversible error and that there is no error upon which an appeal can be predicated.  He further
relates that he is well acquainted with the facts in this case.  In compliance with Anders, Gainous, and
High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978), Appellant's brief presents a chronological
summation of the procedural history of the cases, and further states that Appellant's counsel is unable
to raise any arguable issues for appeal.  

	Appellant filed a pro se brief in which he raised issues concerning sufficiency of the evidence,
ineffective assistance of counsel, the voluntariness of his pleas, admissibility of certain evidence,
prosecutorial misconduct, due process violations, discovery abuse, and the legality of the sentences
assessed.  We have reviewed the records for reversible error and have found none.  See Bledsoe v.
State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).


Conclusion

	As required, Appellant's counsel has moved for leave to withdraw.  See In re Schulman, 252
S.W.3d 403, 407 (Tex. Crim. App. 2008) (orig. proceeding); Stafford v. State, 813 S.W.2d 503 (Tex.
Crim. App. 1991).  We are in agreement with Appellant's counsel that the appeal is wholly frivolous
and his motion for leave to withdraw is hereby granted.  See In re Schulman, 252 S.W.3d at 408-09.

	Counsel has a duty to, within five days of the date of this opinion, send a copy of the opinion
and judgment to Appellant and advise him of his right to file a petition for discretionary review.  See
Tex. R. App. P. 48.4; In re Schulman, 252 S.W.3d at 411 n.35.  Should Appellant wish to seek further
review of this case by the Texas Court of Criminal Appeals, he must either retain an attorney to file a
petition for discretionary review or he must file a pro se petition for discretionary review.  Any petition
for discretionary review must be filed within thirty days from the date of either this opinion or the last
timely motion for rehearing that was overruled by this court.  See Tex. R. App. P. 68.2.  Any petition
for discretionary review must be filed with this court, after which it will be forwarded to the Texas
Court of Criminal Appeals along with the rest of the filings in this case.  See Tex. R. App. P. 68.3.  Any
petition for discretionary review should comply with the requirements of Rule 68.4 of the Texas Rules
of Appellate Procedure.  See Tex. R. App. P. 68.4; In re Schulman, 252 S.W.3d at 408 n.22. 

	We dismiss Appellant's appeals.

Opinion delivered April 15, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.


(DO NOT PUBLISH)


